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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  PATRICIA KENNEDY, Individually, &        :
  ROBERT COHEN, Individually,              :
                                           :
              Plaintiffs,                  :
                                           :            Case No.
  v.                                       :
                                           :
  OV 5 CORAL POLLO, LLC,                   :
                                           :
              Defendant.                   :
  _______________________________________/ :
                                           :
                                           :

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

         Plaintiffs, PATRICIA KENNEDY, Individually, & ROBERT COHEN, Individually, on

  their behalf and on behalf of all other individuals similarly situated, (sometimes referred to as

  “Plaintiff” or “Plaintiffs”), hereby sue the Defendant, OV 5 CORAL POLLO, LLC, (sometimes

  referred to as “Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses, and

  costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and

  Florida Accessibility Code ("FAC").

  1.     Plaintiff PATRICIA KENNEDY is a Florida resident, lives in Broward County Florida,

         is sui juris, and qualifies as an individual with disabilities as defined by the ADA.

         Plaintiff is unable to engage in the major life activity of walking and has limited use of

         her hands. Instead, Plaintiff is bound to ambulate in a wheelchair. Ms. Kennedy=s access

         to the Defendant=s property or to the full and equal enjoyment of the goods, services,

         facilities, privileges, advantages and accommodations offered therein was restricted or
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        limited because of her disabilities, and will be restricted or limited in the future unless

        and until the Defendant is compelled to remove the barriers to access and remedy all

        ADA violations which exist at its property including those set forth in this complaint.

  2.    Plaintiff, ROBERT COHEN, is a Florida resident, sui juris, and president of Access for

        the Disabled, Inc. He is mobility impaired and must use a wheelchair. Mr. Cohen

        therefore qualifies as an individual with disabilities as defined by the ADA. Mr. Cohen=s

        access to the Defendant=s property or to the full and equal enjoyment of the goods,

        services, facilities, privileges, advantages and accommodations offered therein was

        restricted or limited because of his disabilities, and will be restricted or limited in the

        future unless and until the Defendant is compelled to remove the barriers to access and

        remedy all ADA violations which exist at its property including those set forth in this

        complaint.

  3.    Defendant owns, leases, leases to, or operates a place of public accommodation as

        defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and

        36.104. The place of public accommodation that the Defendant owns, operates, leases, or

        leases to is known as a Pollo Tropical is located in the County of Broward.

  4.    Venue is properly located in the Southern District because venue lies in the judicial

        district of the property situs. The Defendant’s property is located in and does business

        within this judicial district.

  5.    Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

        jurisdiction over actions which arise from the Defendant’s violations of Title III of the
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        Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201

        and § 2202.

  6.    As the owner, lessor, lessee, or operator of the subject premises, Defendant is required to

        comply with the ADA. To the extent the property, or portions thereof, existed prior to

        January 26, 1993 ("pre-existing facility"), the owner, lessor, lessee, or operator has been

        under a continuing obligation to remove architectural barriers at that property whose

        removal was readily achievable, as required by 42 U.S.C. Section 12182. To the extent

        that the property, or portions thereof, were constructed prior to January 26, 1993 ("newly

        constructed facility"), the owner, lessor, lessee, or operator was under an obligation to

        design and construct such facilities such that they are readily accessible to and usable by

        individuals with disabilities, as required by 42 U.S.C. Section 12183. To the extent that

        the facility, or portions thereof, were altered in a manner that affects or could affect its

        usability ("altered facility"), the owner, lessor, lessee, or operator was under an obligation

        to make such alterations in such a manner that, to the maximum extent feasible, the

        altered portions are readily accessible to and usable by persons with disabilities.

  7.    Plaintiffs are deterred from, and are denied the opportunity to participate and benefit from

        the goods, services, privileges, advantages, facilities and accommodations at Defendant’s

        property equal to that afforded to other individuals. Plaintiffs are aware that it would be a

        futile gesture to attempt to visit Defendant’s property if they wish to do so free of

        discrimination.

  8.    Pursuant to 28 C.F.R. part 36.404, all newly constructed facilities were required to

        comply with the Standards For New Construction And Alterations, set forth in Appendix
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        A to 28 C.F.R. part 36 ("ADAAG"). Pursuant to 28 C .F.R. part 36.404, all altered

        facilities were required to comply with the ADAAG to the maximum extent feasible.

        Pursuant to 28 C.F.R. part 36.304, all measures taken to comply with barrier removal

        requirements of 42 U.S.C. Section 12182 must also comply with the ADAAG to the

        maximum extent feasible.       Failure to comply with these requirements constitutes a

        violation of the ADA.

  9.    A preliminary inspection of the Pollo Tropical located at 800 N. University Drive, Coral

        Springs, Broward County, Florida has shown that violations exist. These violations

        include, but are not limited to:

        General

        1. The facility fails to adhere to a policy and procedure to afford goods, services,

           facilities, privileges, advantages, or accommodations to individuals with disabilities

           in violation of 28 C.F.R. Part 36.302.

        Parking

        2. The accessible parking space and access aisle on the SW corner of the facility have

           slopes that are steeper than 1:48 in violation of 1991 ADAAG Section 4.6.3; 2010

           ADAAG Section 502.4.

        3. The accessible parking spaces and access aisle on the SE corner of the facility have

           slopes that are steeper than 1:48 in violation of 1991 ADAAG Section 4.6.3; 2010

           ADAAG Section 502.4.

        Entrance Access and Path of Travel
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        4. An accessible continuous, with marked crosswalks, path of travel is not provided

           from the public sidewalk/public transportation stop in violation of 1991 ADAAG

           Sections 4.3.2(1); 2010 ADAAG Sections 206.2.1; 206.3; 402.2.

        Access of Goods and Services

        5. The interior and exterior seating does not provide knee clearance that is at least 30”

           wide under the tables in violation of 1991 ADAAG Sections 4.1.3(18); 4.32.3; 2010

           ADAAG Sections 226; 305.4; 306.3.5; 902.2.

        Men’s Restroom

        6. The toilet compartment door lacks the required pull hardware on both sides and it is

           not self-closing in violation of 1991 ADAAG Sections 4.13.9; 4.17.5; 2010 ADAAG

           Sections 604.8.1.2.

        7. The toilet flush control is not mounted on the open side, there is no rear grab bar, the

           side grab bar is mounted with the top of the gripping surface lower than 33” above the

           finish floor and it is less than 42” long, in the accessible toilet compartment in

           violation of 1991 ADAAG Sections 4.16.5; 4.17.6; 2010 ADAAG Sections 604.5;

           604.6; 609.4.

        8. The toilet paper dispenser is mounted more than 36” from the rear wall in the

           accessible toilet compartment in violation of 1991 ADAAG Section 4.17.6; Figure

           30(d); 2010 ADAAG Section 604.7.

        9. The bottom edges of the reflecting surface on the mirrors inside and outside the

           accessible toilet compartment are higher than 40” maximum above the finish floor. In

           violation of 1991 ADAAG Sections 4.19.6; 2010 ADAAG Section 603.3.
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        10. The inner restroom door requires more than 5 pounds of force to push it open in

            violation of 1991 ADAAG Section 4.13.11; 2010 ADAAG Section 404.2.9.

        Women’s Restroom

        11. The toilet compartment door lacks the required pull hardware on both sides and it is

            not self-closing in violation of 1991 ADAAG Sections 4.13.9; 4.17.5; 2010 ADAAG

            Sections 604.8.1.2.

        12. There is no rear grab bar, the side grab bar is mounted with the top of the gripping

            surface lower than 33” above the finish floor and it is less than 42” long, in the

            accessible toilet compartment in violation of 1991 ADAAG Sections 4.17.6; 2010

            ADAAG Sections 604.5; 609.4.

        13. The bottom edges of the reflecting surface on the mirrors inside and outside the

            accessible toilet compartment are higher than 40” maximum above the finish floor in

            violation of 1991 ADAAG Sections 4.19.6; 2010 ADAAG Section 603.3.

        14. The inner restroom door requires more than 5 pounds of force to push it open in

            violation of 1991 ADAAG Section 4.13.11; 2010 ADAAG Section 404.2.9.

  10.   Plaintiffs PATRICIA KENNEDY and ROBER COHEN have visited the property which

        forms the basis of this lawsuit and plan to return to the property in the near future to avail

        themselves of the goods and services offered to the public at the property, and to

        determine whether the property has been made ADA compliant. The Plaintiffs have

        encountered barriers at the subject property which discriminate against them on the basis

        of their disabilities.
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  11.   In the alternative, Plaintiffs are advocates of the rights of similarly situated disabled

        persons and are "testers" for the purpose of asserting their civil rights and monitoring,

        ensuring, and determining whether places of public accommodation are in compliance

        with the ADA.

  12.   The violations present at Defendant’s facility, create a hazard to Plaintiffs’ safety.

  13.   Plaintiffs PATRICIA KENNEDY and ROBERT COHEN are continuously aware of the

        violations at Defendant’s facility and are aware that it would be a futile gesture to return

        to the property as long as those violations exist unless they are willing to suffer additional

        discrimination.

  14.   The violations present at Defendant’s facility infringe on PATRICIA KENNEDY and

        ROBERT COHEN’S rights to travel free of discrimination. Plaintiff KENNEDY and

        COHEN have suffered, and continue to suffer, frustration and humiliation as the result of

        the discriminatory conditions present at Defendant’s facility. By continuing to operate a

        place of public accommodation with discriminatory conditions, Defendant contributes to

        Plaintiffs’ sense of isolation and segregation and deprives Plaintiff KENNEDY and

        ROBERT COHEN the full and equal enjoyment of the goods, services, facilities,

        privileges and/or accommodations available to the general public. By encountering the

        discriminatory conditions at Defendant’s facility, and knowing that it would be a futile

        gesture to return unless they are willing to endure additional discrimination, Plaintiffs

        KENNEDY and COHEN are deprived of the meaningful choice of freely visiting the

        same accommodations readily available to the general public and are deterred and

        discouraged from additional travel.       By maintaining a public accommodation with
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        violations, Defendant deprives Plaintiffs KENNEDY and COHEN the equality of

        opportunity offered to the general public.

  15.   Plaintiffs PATRICIA KENNEDY and ROBERT COHEN have suffered and will

        continue to suffer direct and indirect injury as a result of the Defendant’s discrimination

        until the Defendant is compelled to comply with the requirements of the ADA.

  16.   Plaintiffs have a realistic, credible, existing and continuing threat of discrimination from

        the Defendant’s non-compliance with the ADA with respect to this property as described

        but not necessarily limited to the allegations in paragraph 7 of this Complaint. The

        individual Plaintiffs have reasonable grounds to believe that they will continue to be

        subjected to discrimination in violation of the ADA by the Defendant. The individual

        Plaintiffs desire to visit the Pollo Tropical not only to avail themselves of the goods and

        services available at the property but to assure them that this property is in compliance

        with the ADA so that they and others similarly situated will have full and equal

        enjoyment of the property without fear of discrimination.

  17.   The Defendant has discriminated against the individual Plaintiffs by denying them access

        to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

        and/or accommodations of the subject property, as prohibited by 42 U.S.C. § 12182 et

        seq.

  18.   The discriminatory violations described in paragraph 7 are not an exclusive list of the

        Defendant’s ADA violations. Plaintiffs require the inspection of the Defendant’s place of

        public accommodation in order to photograph and measure all of the discriminatory acts

        violating the ADA and all of the barriers to access. The individual Plaintiffs and all other
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        individuals similarly situated, have been denied access to, and have been denied the

        benefits of services, programs and activities of the Defendant’s buildings and its

        facilities, and have otherwise been discriminated against and damaged by the Defendant

        because of the Defendant’s ADA violations, as set forth above. The Plaintiffs and all

        others similarly situated will continue to suffer such discrimination, injury and damage

        without the immediate relief provided by the ADA as requested herein. In order to

        remedy this discriminatory situation, the Plaintiffs require an inspection of the

        Defendant’s place of public accommodation in order to determine all of the areas of non-

        compliance with the Americans with Disabilities Act.

  19.   Plaintiffs are without adequate remedy at law and are suffering irreparable harm.

        Plaintiffs have retained the undersigned counsel and are entitled to recover attorney’s

        fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and

        28 CFR 36.505.

  20.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiffs

        Injunctive Relief, including an order to require the Defendant to alter the Pollo Tropical

        to make those facilities readily accessible and useable to the Plaintiffs and all other

        persons with disabilities as defined by the ADA; or by closing the facility until such time

        as the Defendant cures its violations of the ADA.

  WHEREFORE, Plaintiffs respectfully request:

        a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

               commencement of the subject lawsuit is in violation of Title III of the Americans

               with Disabilities Act, 42 U.S.C. § 12181 et seq. and FAC.
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        b.    Injunctive relief against the Defendant including an order to make all readily

              achievable alterations to the facility; or to make such facility readily accessible to

              and usable by individuals with disabilities to the extent required by the ADA and

              FAC; and to require the Defendant to make reasonable modifications in policies,

              practices or procedures, when such modifications are necessary to afford all

              offered goods, services, facilities, privileges, advantages or accommodations to

              individuals with disabilities; and by failing to take such stops that may be

              necessary to ensure that no individual with a disability is excluded, denied

              services, segregated or otherwise treated differently than other individuals

              because of the absence of auxiliary aids and services.

        c.    An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C. §

              12205.

        d.    Such other relief as the Court deems just and proper, and/or is allowable under

              Title III of the Americans with Disabilities Act.

                                             Respectfully Submitted,

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                                             By:/s/ Philip Michael Cullen, III,
